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                         U N ITED STATES D ISTRICT CO U RT
                          M D D LE D ISTRICT OF FLO U A
                                  TA M M D IW SION
    UNITED STATES OF AM ERICA                    O U R CA SE N O :21-6528-STllA U SS
                                                 CASE NO.8:21-cr-1 î$ >              e - e .&
    V.                                           18U.S.C.j1349
                                                 18U.S.C.j1347
 W PAULADAM U XLER-                              18U.S.C.j371
    PA U L EM m BLEIG N IER                      42U.S.C.j1320a-a @)(1)
                                                 42U.S.C.j1320a-7b@)(2)
                                                 18U.S.C.j2 FILE D BY                  AT        D C.
                                                                                                  .


                                     IN D ICM        NT
                                                                          Sep 17,2021
           The G rand Juv chargesthat:                                    ANG ELA G.No Bl..
                                                                                          /
                                                                         CLERKk?S DtST.CT.
                                                                         s
                                      COUNT ONE                           .   c.
                                                                               .oç-i.
                                                                                    tk.-I.
                                                                                         ''
                                                                                          I'l-
               (Conspire to Com -ltHealtk C% eFrau; aad W lreFraud)
          Atalltim es m aterialto th1 Indictm ent:

                          n e D efendants> 4 R elevu tElddes

          1.    HigherResponseM arketing,Inc.t'dHigherResponse'')wasacompany
    incorporated underthe lawsofFlorida,with itsprincipalplace ofbusinesslocated in

    PinellasCounty. H igherResponse also did businessunderthe nam e ''Em pai

    Genetics''and ''M D P.'' H igherResponse,Em path G eneucs,and M DP are

    collectively referred to in tbi,Indic% entas S'Em path.'' Em path held abank account

    endingin 1645CdEmpathAccount1'').Empathalsohddabxnkaccountendingin
    9699C'Em path Account2'').Empath purported to m arketCGxtesting.
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          2.     PA U L A D W   W EXLER wasaresidentofPinellas County in the

    M iddeDiseictofFlorida.PAUL ZlDAM W EXLER conkolled and operated

    Em path.

          3.     PAUL EM IL BLEIGM ER wasaresidentofPinellasCounty in the

    M iddleDisd d ofFlorida.PAUL XM IL BLEIGNY R alsocontolled andoperated
    EmpathalongsidePAUL ADW W EXLER.
          4. PersonalimedGeneuct LLC ('dpemonaliledGenetics'')wasalimited
    liability com pany form ed underthe lawsofPennsylvlnin. Personnlimed G eneucs

    w asa M edicare providerwith itsprincipalplace ofbusinesslocated in M egheny

    County,Pennsylvania. Personnlized Geneticsalso did businessas''Personnlimed

    Genom ics.'' Personalized Genedcjpurportedtoprovide genedctestingservicesto
    M edicarebenesciaries.

          5.     TrinityClinicalLaboratories,LLC (''THnity'')wasalimitedliabl
                                                                            'lity
    company form ed underthelawsofTexas.Trinity wasa M edicareproviderwith its

    prindpalplaceofbusinesslocated i)p D enton County,Texas. Trinity pup oled to
                         .            .




    provide genetictesting servicesto M edicare benesciaries.

          6.    M ed Health SezvicesM anagement,LP (''M ed Health'')wasa limited
    paA ership fo= td unierthe lawsJ
                                   pfPennsylvania. M ed H ealth w as a M edicare

    providerwith itsprincipalplaceofbusinesslocated in Allegheny Counl ,
    Pennsylvania. M ed H ealth purpoled to provide genetictesting servicesto M edicare
    benescixries.


                                            2
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                 eLabPleners,lnc.(''èLab'')wasacompanyincorporatedunderthe
    law sofFlorida,w ith itsprincipalpluce ofbusinesslocated in Brow ard County,

    Florida. ELab purported to m arketCG x tese g.

          8.     M edsymphony,LLC ('dM edsm phony'')and M ee% ydoc,LLC
    ('fM eeM ydoc'')werelimitedliabilitycompaniesformedunderthelawsofSouth
    Carolina,w i1 theirphncipalplace ofbusinesslocated in Beaufox C ounty,South

    Cr olina. M edsym phony and M eeM ydoc purported to provide telem edicine

    consultationsto M edicare benesciaries. M edsym phony and M eec ydoc aze

    colledively refeaed to in this Indictm entas ''M edsym phony.''

                                  n e M eiicare Prov am

          9.    TheM edicarePropam l'dM edicare''lwasafederally fundedpropam
    thatprovided *ee orbelow-costhealth carebenehtsto certain individuals,prim arily

    the elderly,blind,and disabled. The benestsavailableunderM edicarew ere

    govem ed by federalstatutesand regulations.The United StatesD epaM entof

    Health and Human Services(''HHS''),tk ough itsagency,the Centen forM edicare
    andM edicaid Services(''CM S''),oyersaw andadminiqteredM edicare.Individuals
    w ho received benestsunderM edicarew ere com m only referred to asM edicare

    ''benesciaHes.''

          10. M edicare wasa ''health carebeneEtprop am ,''as defm ed by 18 U .S.C .

    j24@),anda''Federalhealth carepropam ,''asdefmedby42U .S.C.j1320a-7b(9.
                M edicareprop am scovering de erenttypes ofbenestsw ere separated

    into digerçntprop am '4p- K.'' M edicare PartA covered health seM cesprovided by
                                             3
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    hospitxlK,skilled nuD ing facilities,hospices,and hom e health agencies. M edicare

    Pm B wasam edicalinsuranceprop am thatcovered,among otherthings,medical

    seM cesprovided by physicians,m edicalclinics,laboratories,and otherqunlised

    healthcareproviders,includingmedicalseM cessuchasoëcevisits,minorsurscal
    procedures,and laboratory testing thatwere m edically necessm and ordered by

    licensed m edicaldoctorsorotherqualised health careproviders.TheM edicare

    Advantage Prop am ,form erly known as ''Pm C''or''M edicare+choice,''is

    described in & rtherdetailbelow .

          12. PhysicinnK,clinics,and otherhealth care providers,including

    laboratories,thatprovided seM cestobenesciarieswereableto apply forand obtain

    a ''providernum berv'' A health care providerthatreceived a M edicare provider

    num berw asable to S e clnim Kwith M edicare to obtain reim bursem entforservices

    provided to benesciaries.

          13. A M edicare claim w asrequired to contain certain im portant

    information,including:(a)thebenesciary'snameandHealth InsuranceClaim
    Number(f'HICN'');(b)adescripdonofthehealthcarebenest,item,orservicethat
    wasprovidedorsuppliedtothebenesciary;(c)thebillingcodesforthebeneit,item,
    orservice;(d)thedateuponwhichthebenest,item,orselvicewasprovided or
    supplied to thebenefciary;and (e)thenameoftherefee ngphysician orother
    health care provider,asw ellasa unique identl
                                                'fying num ber,know n eitherasthe

    UniquePhysician Idenv cauonNumber(''UP1N '')orNationalProviderIdenv er
    (''NPI'').Theclaim form couldbesubmitted in hard copy orelectonically.
                                             4
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                              PartB Coverm eandRee aHons
          14. CM S ad ed through flscalagentscalled M edicare adm iniseative

    coneactors(''M ACs'').whichwerestatutoryagentsforCM SforM edicarePartB.
    n e M A CSwere private entiuesthatreview ed claim sand m ade paym entsto

    providersforservicesrendered tobenesciaries.TheM ACSwererespom iblefor

    processing M edicareclaim sarising whhin theirassir ed geog aphicalarea,including

    determ ining whetherthe claim wasfora covered service.

          15. NovitasSolutionsInc,(''Novitas'')wastheM AC forconsolidated
    MedicrejurisdictionsthatincludedLouisiana,M ississippi,Oklahoma,Texas,and
    Pennsylve a.
          16. To receive M edicare reim bursem ent,providers had to m ake the

    appropriate applicauon to theM A C and execute a written providerap eem ent. The

    M edicare providerenrollm entapplication,CM S Form 8558,w asrequired to be

    sir ed by an authorized representadve oftheprovider. CM S Fonn 8558 contained a

    cee scation thatstated:

                I ap ee to abide by the M edicare law s, regulations, and
                prop am ins% d ions that apply to this provider. The
                M edicare law s,regulations:and prop am instruo ons are
                available through the M edlcare contador. I understand
                that pam entofa claim by M edicare is conditioned upon
                the claim and the underlying trAnqadion com plying with
                such laws,regulauonsandpropam ins% ctions(including,
                butnotlim ited to,theFederalA nti-K ickback Stam te ...and
                the ...(Stark law)).




                                            5
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          17. CM S Form 8558 contained additionalceltiscationsthattheprovider

    ''willnotu owinsypresentorcausetobepresented afalseor&audulentdnim for
    pam entby M edicare''and ''willnotsubm itclaim sw ith deliberate ir orance or

    reckessdisregard oftheirtruth orfalsil.''
          18, Paym entsunderM edicare Pm B were oûen m ade directly to the health

    care providerratherthan to the pa*entorbenesciary. Forth9 to occur,the

    benescio wouldassir therightofpaymentto thehealth careprovider. Oncesuch

    an assir m enttook place,the health care providerwould assum e the responsibility

    forsubm itting claim sto,and receiving paym entsfrom ,M edicare.

                           n e M edk v eM vantage Prov am

          19. The M edicare A dvantage ProF am ,form erly know n as ''Pm C ''or

    ''M edicare+choice,''provided benesciariesw1t11the option to receive their

    M edicare beneststhrough a w ide variety ofprivate m anaged health care benest

    prop am s,som etim esreferred to asm anaged care plans,including health

    maintenanceorganizations('$HM Os''),providersponsoredorganizations(<:PSOs'')1
    prefeaed providerorganizations(''PPOs''),and privatefee-for-serviceplans
    (êtPFFS''),ratherthanthroughtheoriginalM edicarepropam (PartsA andB).
          20. Private health insurance com paniesoFering M edicareA dvantage

    health care benefitprog am sw ere required to providebenefciariesw ith the sam e
    servicesand suppliesoFered underM edicare PAGAA and B. To be eligible to enroll

    in a M edicare A dvantage hcalth carebeneitprop am ,a person had to have been

    enutled to benestsunderM edicare PneKA and B.
                                            6
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          21. A num berofcom panies,including U nitedH ealth G roup,Inc.

    (''UnitedHea1th''),Humanalnc.(d'Humana''),W ellcareHealthPlans,Inc.
    (''W e1lCaze''),and CVSHealthCorporation(''CVSHea1th''),alongw1t11their
    related subsidiariesand ax iates,coneaded w ith CM S to provide m anaged careto

    M edicare A dvantage beneiciariesthrough variousprop am s.

          22.   Uniteo ealth,H um ana,W ellcare,and CVS H ealth w ere ''health

    carebenefk programs,''asdesnedby 18U.S.C.j241)and ''Federalhealthcare
    propams,''asdefmedby42U.S.C.jl320a-7b(9.
          23. n ese com panies,through theirrespedive M edicare A dvantage

    prop am s,ohen m ade paym entsdirectly to physicians,m edicalclinics,orother

    health care providers,ratherthan to the M edicare A dvu tage benesciary that

    received the health care benests,item s,and services. Thisoccurred when the

    provideraccepted assir m entofthe rightto paym entfrom the benesciary.

          24. To obtain paym entforservicesoreeatm entprovided to a benesciary

    enrolled in a M edicare A dvantage health carebenestprov am ,physicians,m edical

    clinics,and otherhealth care providershad to subm ititem ized claim form sto the

    beneiciary'sM edicare Advantage health care benestprop am . The claim form s

    were typically subm itted eleceonically via the Z tem et. The claim form requked

    certain im portantinform ation,including theinform ation described above in
    parap aph 5 ofthis lndictm ent.

          25. W hen a providersubm itted a daim form to a M edicare A dvantage

    health carebenestprop am ,the providercertised thatthe contentsofthe form w ere
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     % e,coced ,and com plete,and thatthe form wasprepared in com pliu ce with the
     laws and rtgulationsgovem ing the M edicare prop am . The subm itting pm y also

     certised thatthe servicesbeingbilledweremedically necessm and wereprovided

     asb1
        *11ed.
             ,

           26. The private health insurance com pe esoFering M edicare A dvantage

    planswere paid a Sxrd rate perbenesciary perm onth by M edicare,regardlessofthe

    acm alnum berortype ofservicesthebenefciary received. These paym entsby

    M edicare to the insurance com paniesw ereu ow n as''capitation''paym ents. Thus,

    every m onth,CM S paid the health insurance com paniesa pre-determ ined am ount

    foreach benesciary who w asenrolled in a M edicareA dvantage health care benefh

    prop am ,regardlessofwhetherthebenescie utilized the health care benest

    prop am 'sservicesthatm onth. CM S determ ined the per-patientcapitation am ount

    using aduarialtables,based on a variety offadors,including the benesciary'sage,

    sex,severityofillness,andcountyofresidence.CM Sadjustedthecapitation rates
    nnnually,taking into accounteach patient'spreviousillnessdiar osesand

    eeatm ents. Benesciariesw ith m ore illnessesorm ore seriouscondidonsw ould rate

    a highercapitation paym entthan healthierbenesciaries.

                                  C u cerG enedcTe>

          27. Cancergenetic(''CGx'')testingused DNA sequencingto detect
    m utationsin genesthatcould indicate a higherrisk ofdeveloping ce> in typesof

    cancersin the future. CG x tese g w asnota m ethod ofdiaR osing whetheran

    individualpresently had cancer.
                                            8
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          28. M edicare did notcoverdiar osdc testing thatw as ''notreasonableand

    necessaryforthediar osisoreea% entofillnessorinjuryorto improvethe
    functioningofamalformedbodymember.''42U.S.C.j1395y(a)(1)(A).Exceptfor
    cem in stam tory excepdons,M edicare did notcover ''exam inauonsperform ed fora

    puœ ose otherthan trea% entordiaa osisofa specz c illness,sm ptom s,com plaint

    orinjury.''42C.F.R.j411.15(a)(1).Amongthestamtozy excep:onscoveredby
    M edicare were cancerscreening tesl such as''screening m am m op aphy,colorectal

    cancerscreeningtests,screeningpelvicexams,(and)prosutecancersceeningtests.''
    Id.

          29. Ifdiar osuctesting w asnecessary forthe diaR osisorteatm entof

    illnessorinjuryortoimprovethefundioningofamalformedbodymember,
    M edicareimposedaddiuonalrequirementsbeforecoveringthetejting.42C.F.R.j
    410.32(a)provided,''M 1diagnosticx-raytests,diaR osdclaboratorytests,andother
    diar osdc tesl m ustbe ordered by the physician who isteating the benesciary,that

    9,thephysician who furniqhesa consultauon oreeatsa benescie fora specz c

    m edicalproblem and w ho usestheresultsin the m anagem entofthebenefk iary's

    specz c m edicalproblem .'' Ii ''Tesl notordered by the physician w ho iseeating

    thebenescimy arenotreasonable and necesse .'! Id.

          30. Because CG x testing did notdiar ose cancer,M edicare only covered

    such testsin lim ited circum stances,such asw hen abenescie had cancerand the

    benesciary'steating physician deem ed such tese g necesse forthebenefk io 's


                                            9
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     eeaa entofthatcancer. M edicare did notcoverCG x tese g forbenehciarieswho

     did nothave cancerorlacked sym ptom sofcancer.

                                       Telem edicl e

           31. Telem edicineprod ded a m eansofconneding patientsto doctorsby

     using telecom m unicationstechnology,such asthe intem etor telephone,to interact

     w ith a pauent.
           32. Telem edicine com paniesprodded telem edicine ortelehealth seM cesto

     individualsby hirlng doctorsand otherhealth care providers. Telem edicine

     com paniestypically paid docitorsa feeto conductconsultationsw ith pauents. ln

     orderto generate revenue,telem edicine com paniestypically eitherbz ed insurance

     orreceived paym entâom patientswho utilized the seM cesofthe telem edicine

     Com pV y.
           33. M edicare PartB covered expensesforspecised telehealth seM cesif

     certain requirementsweremet.Theserequirementsincluded that(a)thebenescie
     waslocated ina mralorhealthprofessionalshortagearea;(b)serviceswere delivered
     via an interactive audio and video telecommunicationssystem;and (c)the
     benescim wasin a practitioner'soE ce ora specz ed m edicalfacility- notata

     benesciary'shom e- during the telehealth service with a rem ote prao tioner.

                                      n e Conspiracr

           34. Beginning in oraround June 2018,and cohtinuing through in oraround

     April2019,in theM idi e D istrid ofFlohda,and elsew here,the defendant,

                                 PA W A D AM W EX LER ,
                                             10
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     did u owingly and w illhllly com bine,conspire,confederate,and ar ee w11 others

     known and lm koow n to the G rand Jury,to com m itcertain oFenses againstthe

     U nited States,that1.
                         '

                 a.      healthcarefraud,inviolation of18U.S.C.j1347;and
                 b.      wirefraud,inviolationof18U.S.C.j1343.
                              M - er* 4 M ea ofthe censplracy
                                                       -




           35. The m annerand m eansby which the defendantand hisco-conspirators

     soughttoaccomplishtheobjed andpurposeoftheconspiracyincluded,among
     others,the follow ing:

                 a. ItwaspartoftheconspiracythatPAUL ADAM W EXLER and his

                      co-conspkatorsw ould and did operate and coneolEm path.

                 b. Itw asfurtherpartoftheconspiracy thatPA U L A De         W EX LER
                      and hisco-conspiratorsw ould and did identify benesciaries and

                      obtain theirm edicalhl
                                           'stories.

                 c. Itw asK nherpm ofthe conspkacy thatPA U L A D u          W EXLER

                      and hisco-conspiratorswould anddid inform benesciariesthatthey

                      w ereeligible forgeneéc testing and sentbenesciariesgenetictesting

                      kitsso thatthebenefciariescould self-adm inistera genedc tese g

                      swab.

                 d. Itw asfurtherpartofthe conspiracy thatPA U L A D u       W EXLER

                      and hisco-conspiratorsw ould and did receive the com pleted genetic

                      testing ZtSfrom the benesciariesand sent,orcaused to besent,the
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                   genetictesting kitsand benescie information to provider

                   laboratories,including Personllized G enetics,M ed H ealth,and

                   Trinity.

                e. Itwasfurtherpartofthe conspiracy thatPA U L A D A M W EXLER

                   and his co-conspiratorsw ould and did oFerand pay illegal

                   h ckbacks and bribesto m edicalpractiuoners to si> and to prescribe

                   geneuc testing orders,com m only referred to as dod or'sorders,

                   underthe guise of''telem edicine.''
                L Itwas furtherpartofthe conspkacy thatPA U L A DA M W EX LER

                   and hisco-conspiratorswould and did receive doctor'sorders

                   authorizing CG x teststhatwere m edically unnecessary and not

                   covered by M edicare and M edicare A dvantage plans and sent,or

                   caused to be sent,the doctor'sordersto providerlaboratohes,

                   including Personalized G enetics,M ed H ealth,and Trinity.

                g. Itw as furtherpm oftheconspiracy thatPA W A DA M W EX LER

                   and hisco-conspiratorsw ould and did solicitand rective illegal

                   bribesand kickbacksin exchangeforsourcingbenehciariesand

                   procuring genetic testing kitsfrom benesciaries.

                h. Itw ash e erpm ofthe conspiracy thatPA U L A D A M W EXLER
                   and hisco-conspiratorsw ould and did subm it,and caused the

                   subm ission of,clsim sto M edicare and M edicare A dvantageplans

                   obtained through kickbacksand bribesthatfalsely and âaudulently
                                            12
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                   represented health care benests,prim arily genetk tese g,as

                   m edically necesse ,validly prescribed,and eligible for
                   reim bursem entfrom M edicare and M edicare A dvantage plansin the

                   approrimateamountof$17.3m illion,which M edicareand

                   M edicareAdvantageplanspaid in excessofapproxim ately $5.2
                   m llhon.

                i. Itw asfurtherpartofthe conspkacy thatPA W A Du            W EX LER

                   and his co-conspiratorsw ould and did asa resultofsuch false and

                   fraudulentclaim s,receiveapproxim ately $1,165,000in kickbacb

                   and bribes.

                j. Itwasflxeherpm oftheconspiracythatPAUL ADAM W EXLER
                   andhisco-conspkatorswouldanddidfalsià,alter,andfabricate,
                   and cause the falsz cation,alteration,and fabrication ofinvoices,

                   billing records,and m edicalrecordsto supportthe false and

                   fraudulentdaim ssubm itted to M edicare and M edicare Advantage

                   plans.

                k. Itwas hxeherpm ofthe conspiracy thatPA U L A D A M W EXLER

                   and hisco-conspiratorswould and did perform acts,and would and

                   didmakestatements,topromoteandachievetheobjectsofthe
                   conspiracy and to hide and concealthepurposesofthe conspiracy

                   and the actscom m itted in furtherance thereof.

          M inviolation of18U.S.C.j1349.
                                            13
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                           C OW     S TW * M      OU G H FO W
                                    (Healt: C%eFraud)
           36. Parap aphs 1through 33 ofCountO neofthisIndicrm entare re-alleged

     and incoo orated by reference asthough fully setforth herein.

                                  n eSchem e and Ae lce

           37. Beginning in oraround June2018,and continuing through in oraround

     A pril2019,in the M idd e D iseid ofFlorida,and elsewhere,the defendant,

                                  PAU L A D AM W EXLER ,

     aided and abettedby others,did a owingly and willhllly devkeand intend to devise

     a schem e and leisceto deâaud the health care benestprop am sM edicare and the

     M edicareAdvantagepllnq,and to obtain,bym eansofm aterially falseand

     haudulentpretenses,representations,and prom ises,m oney and property ow ned by,

     and underthecustodyandcontolofisaid healthcarebenestprov am s.
                      M - erand M eu s oft:e Schem e o d Ae llce

           38. The substance ofthem annerand m eansofthe schem e is described in

     the M annerand M eanssection ofCountO ne ofthe Indictm ent,and the G rand 7uv

     reallegesand incop oratesby reference thoseparap aphsasthough fully setforth

     herein.

                 Exea don orA ttem pted Exeœ tion ofthe SG em e and Ae llce

           39.   On oraboutthe date setforth below in each count,in the M iddle

     D kstrid ofFlorida,and elsew here,in execue g and attem pting to execute the

     aforesaid schem e and m ifceto defraud M edicare and theM edicareA dvantage
                                             14
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     plnng,and to obtain,by m eansoffalseand fraudulentpretenses and representaïons,

     m oney underthe custody and coneolofthe specï ed health care benestprop am s,

     aFecting interstate com m erce,in connection * t.
                                                     11the delivery ofand paym entfor

     healthitem sand services,thedefendant,PAUL ADAM W EXLER,aided and

     abettedby othersknown and unknown,did u owzgly and willM y engagein the

     condud described in the count:


               M ed care       Approx.D ate                         CG x TestBilled;
       C ou t Benefcie           ofClxlm           Clxlm Nom her    A pprox.Am ount
                H ldzs          Subm lmslon                              Billed


                                                                M olecular
       TW O         S.B.     A ugust31,2018 871818243507410 Pathology Level9;
                                                                          $2,200


                                                                 M oleculaz
      TR REE        M .J.      A pril11,2019 452919101205940 Pathology Level9,
                                                                          $2,200

                               S                                   M olecular
                                eptem ber 18, gyygjgzyjsygvjtl pathojog
       FO U R      F.M .           zcja                                 y Level9;
                                                                          $2,200


           Eachinviolation of18U.S.C.j1347and18U.S.C.j2.




                                              15
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                                      CO UN T H VE
                       (Conspiracyto D ehau; l eUnited Statesand
                         PayaadReeeiveHeall CreKiekbnrlm)
           40. Parar aphs 1through 33 ofCountO neofthis Indictm entare re-alleged

     and incom orated by reference asthough fully setforth herein.

                                      n e Conspirac

           41. Beginning in oraround June 2018,and continuing through in orr ound

     April2019,in the M iddle D isi d ofFlorida,and elsewhere,the defendants,

                                   PA U L A D W W EX LER and
                                    PA U L EM m BLEIG N IER ,

     did u owingly and w illhllly com bine,conspire,confederate,and ag ee w ith each

     otherand othersu own and ue ow n to the Grand Jury to;

                        de&aud theU nited Statesoutofm oney and property and by

                 im peding,im paizing,obs% rting,and defeating the law / lfunctionsof

                 HHS,through itsagencyCM S,in theadminigtauon oftheM edicare

                 and M edicare Advantage plans,by deceit,crah,and trickery;and

                 b.     com m itan oFense againstthe U nited States,that1,soliciting

                 apdreceivingremuneration(kickbacksandbribes),inviolationof42
                 U.S.C.j1320a-D @)(1);and
                C.      com m itan oFense againstthe U nited States,that1,oFering and

                 payingremuneration X ckbacks= 4 bribes),in Wola:on of42 U.S.C.j
                  1320a-7b@)(2).



                                             16
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                          M annerand M eansofthe Conspiracy

          42. The m annerand m eansby which the defendantsand theirco-

     conspiratorssoughttoaccomplish theobjectsandpurposeoftheconspiracy
     included,am ong others,the following:

                 a. ltwaspartofthe conspkacy thatPA UL A D A M W EXLER ,PAW

                    EM IL BLEIG N Y R ,and theirco-conspiratorsw ould and did

                    operate and coneolEm path.

                 b. ltw asN e erpartofthe conspiracy thatPA U L A DA M W EXLER,

                    PA U L EM IL BLEIG N IER ,and theirco-conspirators,through

                    Em path,would and did solicitand receivepaym entin the form of

                    illegalkickbacksand bribesin exchange forrefeM ng beneEciariesfor

                    genedc testing thatwasm edically unnecessary and noteligible for

                    reim bursem entby M edicare and M edicare A dvantage plans.

                 c. Itw asfurtherpartofl e conspiracy thatPA U L A D A M W EXLER,

                    PA U L EM IL BLEIG N IER ,and thel co-conspiratorsw ould and

                    did tansm itbenesciaa inform aion forgenetic testing thatw as

                    m edically unnecesse and notcovered by M edicare and M edicare

                    A dvantage plans.

                 d. Itw asK rtherpartofthe conspkacy thatPA U L A DA M W EXLER,

                    PA U L EM IL BLEIG N IER ,and theirco-conspirators,through

                    Em path,would and did oFerand pay kickbacksand bribesto

                    m edicalpractiuonersto si& and to prescribe genetic testing,that
                                             17
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                   wasnotm edically necessm orcovered by M edicare and M edicare

                   A dvantage plans,underthe guise of''telem edicine.''

                e. ltw asfurtherpartoftheconspiracy thatPA U L A D A M W EXLER ,

                   PA U L EM IL BLEIG N IER ,and theirco-conspiratorswould and

                   did eansferbenesciary m edicalinform ation,as wellasdoctor's

                   ordersauthorizing CGx testing thatw asm edically unnecesse and

                   notcovered by M edicare and M edicare A dvantage plans,in

                   exchange forpam entin theform ofkickbacksand bribes,

                   understanding thatthe inform ation would be used to supportfalse

                   and fraudulentM edicare and M edicare A dvantage plan claim s.

                f. Itwas furtherparlofthe conspiracy thatPA U L A DA M W EXLER ,

                   PA U L EM IL BLEIGN IER ,and theirco-conspiraton w ould and

                   did facilitate thesubm ission offalseanJ âaudulentdaim sto

                   M edicare and M edicare A dvantage planstotaling approxim ately

                   $17.3m zion,which M edicareand M edicareAdvantageplanspaid
                   in excessofapproxim ately$5.2m zion,forgenetictestingthatwas
                   ineligible for reim bursem entbecause they w ere procured through

                   paym entofillegalkickbacksand bribesand m edicv y unnecesse .

                g. ltwashtdherpartoftheconspkacythatthatPAUL ADAM
                   W EXLER ,PAU L EM IL BLEIG N Y R ,and theirco-conspirators

                   would and didoFerand payapproximately $322,200 in kickbacks
                   and bribesin orderto obtain doctor's ordersauthorizing cancer
                                           18
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                    geneticteststhatwerenotmedically necessaa orcoveredby

                    M edicare and M edicare A dvantageplans.

                 h. Itwas furtherpartofthe conspiracy thatPA U L A DK    W EX LER ,

                    PAU L EM IL BLEIG N IER ,and the: co-conspiratorswould and

                    did disguke and concealthe nam re and source ofthe kickbacksand

                    bribesby,am ong othercondud ,creating and m aintaining laudulent

                    invoicesidentl
                                 ' ingsezvicesrenderedasleadgeneration,web
                    services,and m arkee g.
                 i. Itw asfurtherpartofthe conspiracy thatPA U L A D A M W EXLER,

                    PA U L EM IL BLEIG N IER,and theirco-conspiratorswould and

                    did p- icipate in m eetings,perform variousacts,and m ake

                    statementstoaccomplishtheobjedsoftheconspiracyandto
                    concealthe conspiracy.

                                       OvertA cts
           43. In furtheranceoftheconspiracy,andtoaccomplishitsobjectsand
     pup ose,atleastoneco-conspiratorcomm itted and caused to becom m iled,inthe

     M idd eD istrid ofFlorida,atleastone ofthefollow ing overtacts,am ong others:

                 a. On oraboutJune 21,2018,PAW A D AM W EXLER and PA U L

                    EM m BLEIGNIER ,through Em path,Solicitedandreceived $3,200
                    inthefprm ofillegalkickbacksorbribesfrom eLab,which were
                    deposited into Em path A ccount1.



                                              19
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                b. On oraboutJune 26,2018,PA U L A D A M W EXLER and PA U L

                   EM IL BLEIGN IER,through Em path,solicited and received $7,300
                   in the form ofillegalkickbacb orbhbesfrom eLab,which w ere

                   deposited into Em path A ccount1.

                c. O n oraboutJuly 20,2018,PA UL A DA M W EX LER and PA U L

                   EM IL BLEIG N IER ,through Em path,solicited and received

                   $19,300in the form ofillegalkickbacksorbribesfrom eLab,which
                   w eredeposited into Em path Account1.
                d. O n oraboutSeptem ber 18,2018,PA U L A D A M W EXLER and

                   PA UL EM IL BLEIG N IER,through Em path,oFered and paid

                   $10,000 in theform ofillegalkickbacksandbribesto
                   M edsym phony,which w erepaid &om Em path A ccount2.

                e. On oraboutSeptem ber24,2018,PA U L Ar A M W EXLER and

                   PA UL EM m BLEIG N IER,through Em path,oFered and paid

                   $8,000 in theform ofZegalhckbacksand bribesto M edsymphony,
                   w hich were paid from Em path Account2.

                f On oraboutOctober1,2013,PAUL ADAM W EXLER and PAUL

                   EM m BLEIGNIER,through Em path,oFered and paid $10,000 in
                   theform ofZegalkickbacksandbribestoM edsym phony,which

                   w ere paid from Em path A ccount2.

                g. On oraboutO ctober 15,2018,PA U L A D AM W EXLER and

                   PA U L EM IL BLEIG N IER ,through Em path,oFered and paid
                                          20
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                    $8,000in the form ofillegalkickbacksand bribestoM edsymphony,
                    w hich were paid âom Em path A ccount2.

           M in violation of13U.S.C.j371.
                            CO U N TS SU M        O U G H EIG H T
        (ReceiptofKickbacksinCou eœ on wi1 aFederalHeali Care110>- )
           44. Parap aphs 1 through 33 ofCountO ne ofthisIndictm entarere-alleged

     and incom orated by referenceasthough K lly setforth herein.

           45. On oraboutthedatesetfoA below in each count,in theM iddle

     D istrid ofFlorida,and elsewhere,thedefendants,

                               PA U L A D AM W EXLER and
                                PAW EM IL BLEIG N IER ,

     aided and abettedbyeach otherand others,did u owingly and willfullysolicitand

     receive,any rem uneration,thatk,kickbacksand bribes,directly and indirectly,

     overtly and coveï y,in cash and in kind,in remrn forreferringan individualto a

     person forthe furnighing and arranging for the l rnighing ofany item and sew icefor

     w hich paym entm ay be m ade in whole and in pm undera Federalhealth care

     prop am ,thatisM edicare and M edicare Advantage plans,assetforth below :




                                             21
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                     A pprox.D ate      A pprox.         sg
         C                                                 scuyuoa oyo a sarv
             ou t     ofK lrH mrl       K lrllorE              P
                        P                                       aym ext
                         aym ent        Am ou t

                                                     W ire eansfereansaction reference
          Sc         June21,2018            $3,200   numberending in 5337 deposited
                                                           in Em path A ccount 1.

                                                     W ke eansfereansaction reference
        SER N        June26,2018            $7,300    numberending in 2943 deposited
                                                          in Em path A ccount 1.

                                                     W ire tansfereansaction reference
        EIGIW         July 20,2018       $19,300      numberendingin 4018 deposited
                                                          in Em path A ccount 1.


             Eachinviolation of42U.S.C.j1320-a7b(b)(1)(A)and 18U.S.C.j2.
                           CO N      SN M     TH RO U G H TW ELY E
        (PaymentofKkkbacksinConnee onwi* aFederalHealG C=ePm ram)

             46. Paragraphs 1 through 33 ofCountO ne ofthis IndiM entare re-alleged

     and incorporated by reference asthough fully setforth herein.

             47. O n oraboutthe date setforth below in each count,in the M iddle

     D iseid ofFlorida,and elsew here,thedefendants,

                                  PA U L A D A M W EXLER and
                                   PAU L EM & BLEIG N V R ,

     aided and abetted by each otherand others,did u owingly and w illfully oferand
     pay any rem uneration,that1 ,kickbacksand bribes,directly and indirectly,overtly

     and covertly,in cash and in kind,as setforth below ,to any person to induce such

     person to purchase,lease,order,and arrange forand recom m end purchasing,

                                                22
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     leasing,and ordering any good,facility,service,and item forw hich paym entm ay be

     m ade in whole orin partundera Federalhealth care prop am ,thatisM edicare and

     M edicare A dvantage plans,assetforth below :


                   A pprox.D ate    A pprox.
       Cou t        ofK lrO ark     Klckgaek         Desclpuon ofK icko rl Paym ent
                       Paym ent      Am ou t

                   S                                 W ire eansfereansaction reference
       N INE        eptember18,      $jc cjc         numberending in 0679 drawn from
                        2018            ,                   E m path A ccount2.


                   S                                 W ire eansfertansad ion reference
                    eptember24,             c
        TEN             2018         $8,00           numberending in 1102 drawn from
                                                            Em path A ccount2.

                                                     W ire eansfereansaction reference
      ELEVEN       October1,2018     $10,000         numberending in 1411drawn from
                                                            Em path A ccount2.

                    Od                               W ire eansfereansacuon reference
                         ober 15,           c
     TW ELVE            2018         $8,00           numberenuing in 1122 drawn from
                                                            Em path A ccount2.

           Eachinviolation of42U.S.C.j1320-a7b@)(2)(B)and 18U.S.C.j2.
                                      RORFETTITRE
           48. The allegationscontained in CountsO ne through Twelve are

     incorporated by reference forthepurpose ofalleging forfeim re pursuantto 18 U .S.C.

     j982(a)(7).
           49. Uponconvidion oftheWolationof18U.S.C.jj1347,1349,and 1343,
     and42U.S.C.jj1320a-7b@)(1)and 1320a-7b@)(2),thedefeno ntsshallforfeitto

                                                23
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     theUnitedStates,pllmuantto 18U.S.C.j982(a)(7),anypropeny,realorpersonal,
     thatconsdm tesorisderived,directly orindirectly,âom F ossproceel kaceableto

     the com m ission ofthe oFense.
           50. The property to be fofeited includes,butisnotlim ited to,the

     $1,165,602.55in proceedsthedefendantsobtained asaresultofthecomm ission of

     the oFenses.
           51. Ifany ofthe property described above,asa resultofany ad orom iqsion

     ofthe defendlnts:

                 a. cannotbelocated upon the exercise ofdue diligence;

                 b. hasbeen ennxfered orsold to,ordeposited with,a thigd party;

                    hasbeenplacedbeyondthejurisdidionoftheCourq
                 d. hasbeen substantially dim inished in value;or

                 e. hasbeen com m ingled with otherproperty which cnnnotbe

                 divided w ithoutdim culty;




                                              24
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     the U nited Statesshallbe entitled to forfeitureofsubstim te property underthe

     provisionsof21U.S.C.j853(p),asincorporatedby 18U.S.C.j982*)(1).


                                                    A TRU E BILL,


                                                    z REPER SON
                                                   ,,




           IG RIN H O PPM AN N
           A cting United StatesA ttorney


     By:
           Alej droJ.Salicrup
           TrialA ttorney
           Crim inalD ivision,Fraud Section
           U .S.D epartm entofJustice


     By:Joseph.
              -S.,Beemo  t(o
                      sterboer
           A cting Chief
           Crim inalD ivision,Fraud Section
           U .S.D epartm entofJustice

     By:         /       0   k'
           J z .Trezevant
           A ssistantUnited StatesA ttorney
           Chief,Econom ic Crim esSection,Tam pa D ivision




                                              25
